                                                     IT IS ORDERED

                                                     Date Entered on Docket: October 22, 2019




                                                     ________________________________
                                                     The Honorable David T. Thuma
                                                     United States Bankruptcy Judge
______________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

  In re:
  DOROTHY MARIE BYRD,
         Debtor(s)                                                     No. 18-11852-t7

                     ORDER APPROVING TRUSTEE’S SALE
            OF REAL PROPERTY TO DARK HORSE INVESTMENTS, INC.

        THIS MATTER has come before the Court on Trustee’s Motion to Approve Sale

  of Real Property to Dark Horse Investments, Inc., filed October 17, 2019 (“the Motion”).

  The Court, FINDS: (a) notice of this Motion, with a 21-day opportunity to object, is not

  required because a previous sale motion (Docket #60) proposed to sell the same property

  for a lesser or equal price and notice of deadline to object to that previous sale motion

  (Docket #60) was given pursuant to Bankruptcy Rule 2002(a)(2) to all parties in interest

  on the official mailing matrix maintained by the Clerk of the Court in this bankruptcy

  case on June 3, 2019 (Docket #61), with a deadline to file a response to that previous sale

  motion (Docket #60) on June 27, 2019, with no objections being filed, timely or otherwise,

  other than the objection of creditor Wells Fargo (Docket #64); (b) the Motion proposes a



   Case 18-11852-t7     Doc 69    Filed 10/22/19   Entered 10/22/19 14:45:07 Page 1 of 3
       sale that results in at least the same or better treatment of unsecured creditors as

the previous sale motion (Docket #60); (c) Wells Fargo consents to the Motion as indicated

by its counsel’s signature below; (d) notice of the previous sale motion (Docket #60) was

sufficient in form and content and was appropriate in the particular circumstances; (e)

the first position mortgage in favor of Nationstar Mortgage LLC secures a note with a

principal sum greater than the purchase price of the sale authorized below; and, (f) the

sale of property as outlined in the Motion, as modified below, is appropriate.

       IT IS THEREFORE ORDERED:

       1.     That the Motion to Approve Trustee’s Sale of Real Property to Dark Horse

Investments, Inc is granted.

       2.     Sale of the property described as:

              Lot numbered Seventeen (17) in Block numbered One Hundred
              Eleven (111), of SNOW HEIGHTS, an Addition to the City of
              Albuquerque, New Mexico, as the same is shown and designated on
              the Plat of said Addition, filed in the Office of County Clerk of
              Bernalillo County, New Mexico, on December 31, 1953.

and more commonly known as 10516 Towner Avenue NE, Albuquerque, NM 87112 to

Dark Horse Investments, Inc. is approved on the following cash terms and with the

following distributions to take place at closing:

              a.     Property selling price:    $132,000.00
              b.     Seller to pay standard accruals such as accrued property taxes, past
                     due property taxes, an owner’s title policy, a survey, and
                     miscellaneous closing costs as detailed in the purchase agreement
                     attached to the motion.
              c.     Payoff to Nationstar Mortgage (Mr. Cooper) in the amount of
                     $110,067.76.
              d.     Payoff to Wells Fargo in the amount of $6,000.00.
              e.     Trustee’s realtor, Amy Ackroyd of TAL Realty, Inc. and BK Global



 Case 18-11852-t7     Doc 69    Filed 10/22/19      Entered 10/22/19 14:45:07 Page 2 of 3
                    together to receive a realtor’s commission in the amount of $5,280.00
                    (4.00% of the sales price).. This commission may be split with
                    buyer’s realtor, if applicable.
             f.     Balance of proceeds to be distributed to Philip J. Montoya, Trustee.

      3.     Trustee is authorized to take the necessary steps to complete the above-

described sale, including conveyance of the property by deed, upon entry of this order.


                               ###END OF ORDER###

Respectfully submitted:
Filed electronically
Philip J. Montoya
Counsel for Trustee
1122 Central Avenue SW, Suite 3
Albuquerque, NM 87102
(505) 244-1152 (505) 717-1494 fax
pmontoya@swcp.com

Approved by:
Approved by email on 10/16/19
Karen H. Bradley
Attorney for Wells Fargo Bank , N.A.
Tiffany & Bosco, P.A.
PO Box 3509
Albuquerque, NM 87190-3509
505-248-2400 Fax : 505-254-4722
khb@tblaw.com




 Case 18-11852-t7    Doc 69    Filed 10/22/19   Entered 10/22/19 14:45:07 Page 3 of 3
